         Case 1:16-cv-05542-HBP Document 161 Filed 03/27/19 Page 1 of 10



UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
-----------------------------------x
LUIS GARCIA and HECTOR
FONTANILLAS,

                         Plaintiffs,            16 Civ. 5542    (HBP)

     -against-                                  OPINION
                                                AND ORDER
CLOISTER APT CORP., et al.

                         Defendants.

-----------------------------------x

              PITMAN, United States Magistrate Judge:


               I held a settlement conference in this matter on

November 5, 2018.       A settlement was reached at the conference,

and this matter is now before me on the parties'            joint applica-

tion to approve their settlement (Letter of Ria Julien, Esq., and

Lisa M. Casa, Esq., to the undersigned, dated Jan. 18, 2019

( Docket Item ( "D. I.") 15 9)    ("Joint Letter") ) .   All parties have

consented to my exercising plenary jurisdiction pursuant to 28

U.S.C.    §   636(c).

               Plaintiff Luis Garcia alleges that he performed repair

and maintenance work at buildings owned by defendants from June

2010 until April 2016 (Complaint, dated July 11, 2016 (D.I. 1)

("Compl. ") 'll'll 47-48, 50).   Plaintiff Hector Fontanillas opted

into this action on October 4, 2018         (D.I. 141), alleging that he
     Case 1:16-cv-05542-HBP Document 161 Filed 03/27/19 Page 2 of 10



performed repair and maintenance work for defendants from June

2013 until December 2015.         Plaintiffs bring this action under the

Fair Labor Standards Act         ("FLSA"), 29 U.S.C. §§ 201 e t ~ - , and

the New York Labor Law ("NYLL"), claiming that defendants failed

to pay them the required minimum wage and overtime premium pay

and failed to provide them with wage notices and wage statements

(Compl.   ~~    54-65).   According to plaintiffs, defendants owe them

approximately $46,000 in unpaid wages, $46,000 in liquidated

damages and $20,000 in statutory damages for wage notice and wage

statement violations.

               Defendants deny plaintiffs' claims and contend that

plaintiff Hector Fontanillas never worked for defendants in the

relevant time period.        Defendants contend that although they

possessed substantial records to verify plaintiff Luis Garcia's

employment, a diligent search revealed no documentary proof of

plaintiff Hector Fontanillas's employment.

               As noted above,   I held a settlement conference in this

matter on November 5, 2018.         The parties agreed to the material

terms of a settlement and submitted their proposed settlement

agreement for judicial approval on January 18, 2019          (Negotiated

Settlement Agreement & Release, annexed to Joint Letter (D.I.

159-1)    ("Settlement Agreement")).        The Settlement Agreement

provides that defendants will pay a total amount of $50,000.01


                                        2
     Case 1:16-cv-05542-HBP Document 161 Filed 03/27/19 Page 3 of 10



$33,333.34 to be paid to plaintiffs and $16,666.67 to be paid to

plaintiffs'     counsel for fees and costs   (Settlement Agreement~~

3.1, 3.2).     $29,333.34 of the net settlement amount will be paid

to plaintiff Luis Garcia and $4,000 will be paid to plaintiff

Hector Fontanillas (Settlement Agreement~ 3.l(B)).

             Court approval of an FLSA settlement is appropriate

             "when [the settlement] [is] reached as a result of
             contested litigation to resolve bona fide disputes."
             Johnson v. Brennan, No. 10 Civ. 4712, 2011 WL 4357376,
             at *12 (S.D.N.Y. Sept. 16, 2011).  "If the proposed
             settlement reflects a reasonable compromise over con-
             tested issues, the court should approve the settle-
             ment." Id. (citing Lynn's Food Stores, Inc. v. United
             States, 679 F.2d 1350, 1353 n.8 (11th Cir. 1982)).

Agudelo v. E & D LLC, 12 Civ. 960 (HB), 2013 WL 1401887 at *1

(S.D.N.Y. Apr. 4, 2013)    (Baer, D.J.)   (alterations in original).

"Generally, there is a strong presumption in favor of finding a

settlement fair,    [because] the Court is generally not in as good

a position as the parties to determine the reasonableness of an

FLSA settlement."     Lliguichuzhca v. Cinema 60, LLC,     948 F. Supp.

2d 362, 365 (S.D.N.Y. 2013)     (Gorenstein, M.J.)    (internal quota-

tion marks omitted).     In Wolinsky v. Scholastic Inc.,      900 F.

Supp. 2d 332, 335 (S.D.N.Y. 2012), the Honorable Jesse M. Furman,

United States District Judge, identified five factors that are

relevant to an assessment of the fairness of an FLSA settlement:
       I
                  In determining whether [a] proposed [FLSA] settle-
             ment is fair and reasonable, a court should consider

                                    3
         Case 1:16-cv-05542-HBP Document 161 Filed 03/27/19 Page 4 of 10



             the totality of circumstances, including but not lim-
             ited to the following factors:   (1) the plaintiff's
             range of possible recovery; (2) the extent to which the
             settlement will enable the parties to avoid anticipated
             burdens and expenses in establishing their respective
             claims and defenses; (3) the seriousness of the litiga-
             tion risks faced by the parties; (4) whether the set-
             tlement agreement is the product of arm's-length bar-
             gaining between experienced counsel; and (5) the possi-
             bility of fraud or collusion.

(internal quotation marks omitted).            The settlement here satis-

fies these criteria.

             First, plaintiffs' net settlement -- $33,333.34 after

the deduction of attorneys' fees and costs -- represents more

than 28% of their total alleged damages and more than 72% of

their claimed unpaid wages.        This percentage is reasonable,

especially given plaintiffs' potential obstacles to recovery.

See Gervacio v. ARJ Laundry Servs. Inc., 17 Civ. 9632            (AJN), 2019

WL 330631 at *l (S.D.N.Y. Jan. 25, 2019)            (Nathan, D.J.)   (net

settlement of 20% of FLSA plaintiff's maximum recovery is reason-

able); Felix v. Breakroom Burgers          &   Tacos, 15 Civ. 3531   (PAE),

2016 WL 3791149 at *2       (S.D.N.Y. Mar. 8, 2016)      (Engelmayer, D.J.)

(net settlement of 25% of FLSA plaintiff's maximum recovery is

reasonable); Beckert v. Ronirubinov, 15 Civ. 1951 (PAE), 2015 WL

8773460 at *2     (S.D.N.Y. Dec. 14, 2015)        (Engelmayer, D.J.)   (net

settlement of 25% of FLSA plaintiff's maximum recovery is reason-

able).



                                       4
         Case 1:16-cv-05542-HBP Document 161 Filed 03/27/19 Page 5 of 10



             Second, the settlement will entirely avoid the expense

and aggravation of litigation.         Because the action settled prior

to the completion of discovery, the parties will be able to avoid

the ongoing expense of exchanging documents and taking deposi-

tions.

             Third, the settlement will enable the parties to avoid

the risk of litigation.        As noted above, there is a significant

dispute over when, or even if, plaintiff Hector Fontanillas

worked for defendants.       Given this factual dispute, both parties

avoid the risk associated with its resolution through further

litigation.

             Fourth, because I presided over the settlement confer-

ence that immediately preceded plaintiffs' acceptance of the

settlement, I know that the settlement is the product of arm's-

length bargaining between experienced counsel.

             Fifth, there are no factors here that suggest the

existence of fraud.       The material terms of the settlement were

reached at the settlement conference.

             The allocation of the net settlement between plaintiffs

is also fair.      According to the Agreement, plaintiff Luis Garcia

will receive 36.98% of his amount claimed and plaintiff Hector

Fontanillas will receive 10.55% of his amount claimed.             I find

this allocation to be fair, particularly in light of the signifi-

                                       5
      Case 1:16-cv-05542-HBP Document 161 Filed 03/27/19 Page 6 of 10



cant factual obstacles plaintiff Fontanillas would have to

overcome simply to prove he was even employed by defendants

within the relevant period.

             Plaintiffs agree to a release of defendants limited to

wage-and-hour claims (Settlement Agreement~ 1).          I find this

release permissible because it is narrowly tailored to wage-and-

hour issues.     See Redwood v. Cassway Contracting Corp., supra,

2017 WL 4764486 at *3 (release of defendants "from any and all

wage and hour and/or notice claims" that could have been brought

permissible "because it is limited to claims relating to wage and

hour issues"); Yunda v. SAFI-G, Inc., 15 Civ. 8861         (HBP), 2017 WL

1608898 at *3    (S.D.N.Y. Apr. 28, 2017)   (Pitman, M.J.)    (release

that is "limited to claims arising under the FLSA" permissible);

see also Santos v. Yellowstone Props., Inc., 15 Civ. 3986 (PAE),

2016 WL 2757427 at *l, *3 (S.D.N.Y. May 10, 2016)        (Engelmayer,

D.J.); Hyun v. Ippudo USA Holdings, 14 Civ. 8706 (AJN), 2016 WL

1222347 at *3-*4    (S.D.N.Y. Mar. 24, 2016)    (Nathan, D.J.).

             The Settlement Agreement contains a provision that

would prohibit plaintiffs from entering the residential premises

at 1793 Riverside Drive, New York, New York and would prohibit

plaintiff Hector Fontanillas from contacting an individual named

Alexa Ruiz     (Settlement Agreement~ 4).    These prohibitions are

problematic in the context of an FLSA settlement.         Given the


                                    6
        Case 1:16-cv-05542-HBP Document 161 Filed 03/27/19 Page 7 of 10



unequal bargaining power that an employer enjoys,                   judges in this

Circuit have been extremely sensitive to settlement provisions

that provide benefits to employers that go beyond the release of

wage and hour claims.           See Thallapaka v. Sheridan Hotel Assocs.

LLC,    15 Civ. 1321      (WHP),   2015 WL 5148867 at *l       (S.D.N.Y. Aug. 17,

2015)       (Pauley,   D.J.)   ("An employer is not entitled to use an FLSA

claim           . to leverage a release from liability unconnected to

the FLSA"       (internal quotation marks and citations omitted));

accord Sanchez v. Alan's RE 99 Cents               &   Up Inc.,    16 CV 1881

(CBA) (LB),      2018 WL 2452784 at *4        (E.D.N.Y. Apr.      24,   2018).   In

the course of this litigation, defendants have not claimed any

improper conduct by plaintiffs, and the prohibition is unques-

tionably an attempt by defendants to gain an advantage beyond the

release of the wage and hour claims.              The provision is also

clearly retaliatory in violation of 29 U.S.C. § 215(a) (3) . 1

Accordingly, paragraph 4 of the Settlement Agreement is stricken.

                The Settlement Agreement also contains a provision that

would prohibit plaintiffs from seeking re-employment with defen-

dants       (Settlement Agreement 1 9).        This provision is also unac-

ceptable.        It is well established that clauses barring



        1
      The FLSA prohibits retaliation against both current and
former employees.  Dunlop v. Carriage Carpet Co., 548 F.2d 139,
142 (6th Cir. 1977); Morangelli v. Chemed Corp., 10 Civ. 00876
(BMC), 2011 WL 7475 at *2 (E.D.N.Y. Jan. 1, 2011)

                                          7
        Case 1:16-cv-05542-HBP Document 161 Filed 03/27/19 Page 8 of 10



re-employment conflict with the FLSA's "primary remedial purpose:

to prevent abuses by unscrupulous employers, and remedy the

disparate bargaining power between employers and employees."

Cheeks v. Freeport Pancake House,          Inc., 796 F.3d 199, 207     (2d

Cir. 2015); see also Ortiz v. My Belly's Playlist LLC, 283 F.

Supp. 3d 125, 126 (S.D.N.Y. 2017)           (striking down a similar

provision barring plaintiffs from ever working, or applying to

work, for defendants because it was in direct conflict with

FLSA's remedial purpose); Olano v. Designs by RJR, Ltd., 17 Civ.

5703 (WHP), 2017 WL 4460771 at *3 (S.D.N.Y. Oct. 6, 2017)

(Pauley, D. J. )   ( describing a re-employment prohibition as being

one of the "'greatest hits'" of the provisions that are unaccept-

able under Cheeks); Baikin v. Leader Sheet Metal, Inc., 16 Civ.

8194    (ER), 2017 WL 1025991 at *l        (S.D.N.Y. Mar. 13, 2017)    (Ramos,

D.J.)    (same).   Accordingly, paragraph 9 of the Settlement Agree-

ment is also stricken.

             Finally, the Settlement Agreement provides that

$16,666.67 will be paid to plaintiffs' counsel for attorneys'

fees and costs (Settlement Agreement~~ 3.l(B)3., 3.2).                I find

plaintiffs' counsel's request for $16,666.67 -- one-third of the

total settlement -- to be reasonable and appropriate.             See Santos

v. EL Tepeyac Butcher Shop Inc., 15 Civ. 814           (RA), 2015 WL

9077172 at *3 (S.D.N.Y. Dec. 15, 2015)           (Abrams, D.J.)   ("[C]ourts

                                       8
     Case 1:16-cv-05542-HBP Document 161 Filed 03/27/19 Page 9 of 10



in this District have declined to award more than one third of

the net settlement amount as attorney's fees except in extraordi-

nary circumstances."), citing Zhang v. Lin Kumo Japanese Rest.

Inc., 13 Civ. 6667   (PAE), 2015 WL 5122530 at *4         (S.D.N.Y. Aug.

31, 2015)   (Engelmayer, D.J.) and Thornhill v. CVS Pharm., Inc.,

13 Civ. 507   (JMF), 2014 WL 1100135 at *3 (S.D.N.Y. Mar. 20, 2014)

(Furman, D.J.); Rangel v.    639 Grand St. Meat      &   Produce Corp., 13

CV 3234   (LB), 2013 WL 5308277 at *l (E.D.N.Y. Sept. 19, 2013)

(approving attorneys' fees of one-third of FLSA settlement

amount, plus costs, pursuant to plaintiff's retainer agreement,

and noting that such a fee arrangement "is routinely approved by

courts in this Circuit").     Thus, plaintiffs' counsel is awarded

$16,666.67 for attorneys' fees and costs.

            Accordingly, for all the foregoing reasons,         I approve

the settlement in this matter, having stricken paragraphs 4 and 9

from the Settlement Agreement.      In light of the settlement, the

action is dismissed with prejudice and without costs.            The Clerk

is respectfully requested to mark this matter closed.


Dated:      New York, New York
            March 27, 2019
                                        SO ORDERED



                                        2N~AAfa--
                                        United States Magistrate Judge

                                    9
      Case 1:16-cv-05542-HBP Document 161 Filed 03/27/19 Page 10 of 10




Copies transmitted to:

All Counsel




                                    10
